               IN THE UNITED STATES DISTRICT COURT
              FOR THE EASTERN DISTRICT OF TENNESSEE
                         AT GREENEVILLE


 JODI HELBERT,                                     ]
                                                   ]
                   Plaintiff,                      ]
                                                   ]
   v.                                              ]     No. 2:14-CV-
                                                   ]
 UHS OF DELAWARE, INC. and                         ]
 KEYTONE CONTINUUM, individually, and              ]
 d/b/a MOUNTAIN YOUTH ACADEMY,                     ]
                                                   ]
                   Defendants.                     ]



                                  COMPLAINT


             Plaintiff Jodi Helbert files her complaint for relief against the

 defendants for their sex discrimination and race discrimination and avers:

             1. The Court is empowered to hear the plaintiff’s federal employment

 discrimination/retaliation claims pursuant to its federal question jurisdiction

 codified at 42 U.S.C. §1331. The plaintiff’s sex discrimination claims and race

 discrimination claims are premised upon the provisions of Title VII of the 1964

 Civil Rights Act, as amended, and as codified at 42 U.S.C. §2000e-2, §2000e-3,

 and §2000e-5.

             2. Plaintiff Jodi Helbert is a multiracial female 47-years-of-age. She


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 resides in Washington County, Virginia. Ms. Helbert has a B.S. Degree in Social

 Work and a Master’s Degree in Social Work. At the times pertinent to her Title

 VII claims of sex discrimination and race discrimination, she was employed as a

 Therapist at the Mountain Youth Academy’s adolescent residential treatment

 facility in Mountain City, Johnson County, Tennessee.

              3. Mountain Youth Academy (MYA) is a trauma-based residential

 treatment facility that provides mental health and educational services to at-risk

 youth and their families. MYA treats children and adolescents, both male and

 female, ages 6-17. MYA is owned by Universal Health Services, Inc. (UHS) and

 operated and managed by UHS of Delaware, Inc. Universal Health Service, Inc.

 claims on its internet websites that UHS of Delaware, Inc., is its wholly-owned

 management company. UHS of Delaware, Inc. in turn, operates MYA through the

 limited liability company of Keystone Continuum, LLC (KC). UHS of Delaware,

 Inc. is headquartered at 367 S. Gulph Road, King of Prussia, Pennsylvania 19406-

 3121. Keystone Continuum, LLC has its principal office at 3401 West End Ave.,

 Suite 400, Nashville, TN 37203-6487.

              4.    According to Universal Health Services, Inc.’s website

 representations, the defendant UHS of Delaware, Inc. operates approximately 225

 residential treatment facilities under different business names throughout the United

 States and abroad. UHS of Delaware, Inc., and Keystone Continuum jointly


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 manage and control residential treatment centers including their Mountain Youth

 Academy in Mountain City, Tennessee. As part of its employment operational

 control of all of the Universal Health Care Centers which UHS of Delaware, Inc.

 manages, it and its business partners transfer administrators between their various

 separate treatment facilities. The two defendants employ thousands of individuals.

             5. Both UHS of Delaware, Inc., and Keystone Continuum, LLC,

 were the plaintiff’s employers at Mountain Youth Academy for purposes of Title

 VII liability. Universal Health Service, Inc.’s registered agent for service of

 process is listed as C T Corporation System, Suite 2021, 800 Gay Street,

 Knoxville, TN 37929-9710. UHS of Delaware, Inc., is being served by certified

 return receipt requested mail on UHS’s registered agent and by certified mail

 restricted to the addressee to the UHS of Delaware, Inc.’s CEO Allen B. Miller at

 the company’s King of Prussia, Pennsylvania address. Keystone Continuum,

 LLC’s registered agent for service of process is also listed as C T Corporation

 System in Knoxville, Tennessee.

             6. Defendant UHS of Delaware, Inc. sent Ms. Helbert electronic

 notice that it had deposited her bi-weekly paycheck while she was employed at

 MYA, installed the operational policies and employee handbook personnel policies

 which determined the plaintiff’s working conditions and employment situation, and

 gave Ms. Helbert and other employees at MYA an “@uhsinc.com” e-mail address.


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 UHS of Delaware, Inc., had notice of Ms. Helbert’s EEOC discrimination charges

 because its Office of General Counsel representative forwarded UHS’s Position

 Statement to the EEOC on or about October 1, 2013 and demanded that Universal

 Health Services, Inc.’s name be removed from Ms. Helbert’s charges.

             7. Ms. Helbert applied for a “therapist” position at one of Universal

 Health Services facilities located in Marion, Virginia, in February 2011. No

 position was open. UHS referred the plaintiff to its “sister” facility, the Mountain

 Youth Academy in Mountain City, Tennessee, where a therapist position was

 available. Because the drive from her home to the MYA in Johnson County was

 approximately two hours, Ms. Helbert had to rent an apartment in Mountain City

 so she could accept the position.

             8. Though the plaintiff was relatively inexperienced as a therapist, the

 defendant’s managers assigned extremely difficult adolescents to her for treatment.

 One of Ms. Helbert’s patients was a severely-troubled fifteen (15) year-old-male.

 Malicious comments which the adolescent made to Ms. Helbert over a period of

 months caused her to express safety concerns to her supervisors and to the

 Director of Clinical Services (DCS) Teresa Crotty. Ms. Helbert also learned that

 the adolescent was spreading false rumors that he was having sex with her. She

 reported these volatile and “boundary issue” remarks to DCS Crotty and asked that

 the adolescent be transferred to another therapist.


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             9. Ms. Helbert requested that the troubled adolescent be assigned to

 a more experienced therapist in May 2011, in December 2011, and in January

 2012. DCS Crotty initially agreed to transfer the adolescent but reneged and then

 repeatedly responded to Ms. Helbert that she would see about it. The adolescent

 continued to brag to other adolescent patients that he was having sex with Ms.

 Helbert.

             10. In December 2011, Ms. Helbert advised DCS Crotty that she

 could not continue to deal with the malicious comments and sexual bragging by

 the adolescent and would have to resign. Crotty begged Ms. Helbert to remain at

 MYA and brought several other therapists into the office to convince Ms. Helbert

 to stay. When DCS Crotty agreed to assign the adolescent to another therapist,

 Ms. Helbert agreed to stay. However, DCS Crotty continued to delay reassigning

 the troubled adolescent.

             11. In late January 2012, while Ms. Helbert was on a scheduled

 vacation, the adolescent instigated a near riot with several older adolescents at

 MYA. MYA finally transferred the adolescent to an out-of-state facility in late

 February 2012.

             12. On March 27, 2012, the facility’s Director of Human Resources

 Kathy Smith and fill-in clinical supervisor Samantha Slagle informed Ms. Helbert

 that a child at another facility had made an allegation against her and that she


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 would have to turn in her access keys and employee ID. Supervisor Slagle advised

 Ms. Helbert that the Tennessee Department of Children’s Services would be

 investigating the accusation and that she was being placed on investigative

 suspension with pay. Neither Supervisor Slagle nor any other administrator

 furnished the plaintiff with any details about the false accusation.    At the time

 MYA placed Ms. Helbert on investigative suspension, neither Ms. Slagle or any

 other MYA administrator informed her that the suspension was the result of any

 performance issues. The HR Manager and Ms. Slagle escorted the plaintiff from

 the building and told her that she could not return until the investigation into the

 matter was completed. Ms. Helbert subsequently learned that the defendant’s

 management had instructed her co-workers not to communicate with her until the

 matter was resolved.

             13. In early June 2012, Johnson County Sheriff’s Department officer

 Richard Eller contacted Ms. Helbert regarding her providing a statement pertaining

 to the false accusation which had been made against her. The plaintiff met with

 Officer Eller and Tennessee Department of Children’s Services Investigator Robert

 Steuart at the Sheriff’s Department in Mountain City on June 6, 2012.

             14. At the beginning of the interrogation, the men read Ms. Helbert

 her Miranda rights. When Ms. Helbert asked what she was being accused of,

 investigator Steuart and officer Eller advised Ms. Helbert that a young male patient


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 had accused her of sexually assaulting him in her office.   Ms. Helbert told both

 men that the accusation was false. She described to them the false rumors which

 the adolescent had been spreading about his having sex with her since May 2011.

             15. Steuart did not give Ms. Helbert any additional details about the

 accusations. He asked Ms. Helbert about her birthmarks. Ms. Helbert did have

 a flesh colored skin tag high on the inside of her right thigh which was visible

 beneath shorts in a family photo taken by her daughter and had been left in a stack

 of photos on her office shelf. During August 2011, a male co-worker visiting with

 Ms. Helbert was sorting through the photographs. He asked Ms. Helbert about the

 photo which her daughter had taken. Ms. Helbert explained that her daughter had

 taken the photo to encourage her to lose weight. Ms. Helbert then placed the

 photo in her desk drawer. The stack of photos had previously been accessible to

 any employees and adolescent patients who were in Ms. Helbert’s office.

             16. On August 9, 2012, HR Manager Smith advised Ms. Helbert by

 telephone that the company was moving her from a paid suspension to an unpaid

 suspension. Ms. Smith did not give Ms. Helbert any performance-related reason

 for MYA changing Ms. Helbert’s pay status. Ms. Smith agreed to allow the

 plaintiff to exhaust her PTO accumulated paid-leave time. Ms. Helbert ceased

 receiving any income from the Mountain Youth Academy in late August 2012.

             17.    Ms. Helbert avers that the defendants’ administrators and


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 supervisors were aware at the time they suspended her that the adolescent who had

 falsely accused her of sexually assaulting him was the same adolescent who had

 been bragging for months to other patients at MYA that he was having sex with

 Ms. Helbert and was the same adolescent which DCS Crotty had refused to assign

 to another therapist despite Ms. Helbert’s repeated complaints and requests to do

 so.

              18. MYA administrators and supervisors were also aware that the

 adolescent’s mother had complained to Ms. Helbert about the MYA CEO Paul

 Kirkham’s spending excessive personal time with her son, Kirkham’s allowing her

 son to use his office computer, and Kirkham’s taking her son on private outings

 in his automobile. Ms. Helbert relayed the mother’s complaints to DCS Crotty.

 Crotty responded that the CEO knew his behavior with the adolescent was

 “problematic.”

              19. MYA administrators, supervisors, and school teachers also knew

 that the troubled adolescent had a history of fabricating accusations against adults.

 Prior to Ms. Helbert’s being employed as a therapist at MYA, the adolescent had

 fallen off his skate board and accused the driver of a passing Coca-Cola truck of

 hitting him with the truck and leaving the scene.

              20. MYA administrators and teachers also knew that the troubled

 adolescent who had falsely accused Ms. Helbert of sexual assault had earlier


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 claimed that he had sex with a former teacher. The adolescent’s mother told Ms.

 Helbert about her son’s earlier false accusations and assured her that the

 accusations were not true.

             21. In spite of their knowledge of the background of the troubled

 adolescent, of his penchant for making false accusations, and of Ms. Helbert’s

 complaints and repeated requests that MYA assign the adolescent to a more

 experienced therapist, MYA administrators and supervisors failed and refused to

 allow her to remain at work because she was a female of mixed race. In contrast

 and as hereinafter described, MYA administrators and supervisors supported a

 white male therapist who had been accused of sexually assaulting a male

 adolescent, assigned the therapists to another section of the facility, and allowed

 him to remain at work.

             22. In September 2012, a staff member at the Tennessee Department

 of Children’s Services advised Ms. Helbert that her file would be referred for an

 administrative hearing. The plaintiff also learned that Investigator Steuart had

 never contacted the staff employees on her clinical team whom she had listed as

 significant individuals who knew about the situation with the now 16-year-old-

 adolescent and could provide information that his accusation was false.

             23.   On October 26, 2012, Ms. Helbert received MYA’s letter

 discharging her for allegedly being on investigative leave for more than six


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  months. The plaintiff avers that the stated reason was pretextual. There was no

  published company policy which required that an employee’s exceeding a six-

  month leave be discharged. The defendants discriminatorily discharged Ms.

  Helbert even though they had knowledge of the facts and circumstances which

  demonstrated that the adolescent’s accusations were false.

               24. Ms. Helbert hired a private attorney in Johnson City, Tennessee

  to prepare for the Department of Children’s Services administrative hearing which

  was scheduled for January 2013. In November 2012, Ms. Helbert’s attorney was

  finally permitted by MYA to interview the members of her clinical team about the

  false rumors and the disturbed adolescent’s statement. No one at MYA, or at the

  Department of Children’s Services, or the police department had contacted Ms.

  Helbert’s clinical team members as a part of any investigation.

               25.    Ms. Helbert’s attorney informed her two days before her

  scheduled hearing in January 2013 that the complaining adolescent and his family

  were refusing to appear at the Department of Children’s Services administrative

  hearing to testify against her.

               26. After her termination in late October 2012, Ms. Helbert learned

  that a white male therapist at MYA had been of accused of sexual assault by a male

  juvenile patient.   Defendants treated the male therapist far better than they had

  treated Ms. Helbert after she had been falsely accused of sexual assault. At


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  approximately the same time the defendants were preparing to discharge Ms.

  Helbert, they simply transferred the accused male therapist to another section of the

  facility and continued to employ him. The defendants did not suspend the white

  male therapist, did not bar him from the facility, and did not order staff not to

  communicate with him while he was being investigated by the Department of

  Children’s Services.

               27.   The white male counselor comparator did have to take FMLA

  leave when he was hospitalized for a ruptured appendix but was returned to work

  when he recovered. The defendants never took the male comparator’s access keys

  or his employee ID card. MYA administrators conducted an “internal

  investigation” which concluded that the white male comparator was innocent of the

  sexual assault charges to justify not suspending him.           Those same MYA

  administrators did not conduct an internal investigation for Ms. Helbert even

  though they knew that the complaining adolescent had a history of making false

  accusations, that Ms. Helbert had repeatedly advised them that the troubled

  adolescent was spreading rumors he was having sex with her, and that Ms. Helbert

  had been insisting to no avail that DCS Crotty reassign the troubled adolescent to

  a more experienced therapist.

               28. MYA administrators remained in constant contact with the white

  male therapist during the state DCS investigation, kept him at work, and even


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  drove him to the Johnson County Sheriff’s Department to talk with the Department

  of Children’s Services Investigator because his driver’s license had been suspended

  for multiple DUI conviction. MYA’s CEO and Clinical Supervisor served as

  advocates for the white male therapist with the Department of Children’s Services.

  They made telephone calls to the state agency to complain that investigator Steuart

  was not being fair to the male therapist and was taking too long to complete the

  investigation. The sexual assault accusations against the white male therapist were

  eventually dismissed. The male therapist continued working at the Mountain Youth

  Academy.    Plaintiff Helbert avers that the preferential treatment which MYA

  afforded the white male therapist during his investigative process is evidence of

  MYA’s gender and race discrimination against her.

              29. In an effort to deflect liability for their Title VII discrimination,

  the defendants claimed to the EEOC that MYA supervisors had counseled Ms.

  Helbert prior to the DCS investigation for “unrelated professional boundary issues”

  concerning other patients. In fact, MYA supervisors counseled every recently

  hired therapist about “boundary issues” as part of their weekly “supervision

  meetings” with the therapists. The defendants also claimed that their administrators

  had intended to place Ms. Helbert on a performance improvement plan but “never

  got around to it” before they discriminatorily suspended her. The defendants’

  administrators never told Ms. Helbert that they were considering placing her on a


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  performance improvement plan. The MYA “performance improvement plan”

  excuse is pretextual.

               30. Ms. Helbert had received an exemplary performance evaluation

  from Director of Clinical Services Terri Crotty three months before she was

  suspended. Ms. Crotty stated on Ms. Helbert’s December 20, 2011 - evaluation

  that she exceeded the expectations for her position and had done well adjusting to

  complex paperwork. Ms. Crotty told Ms. Helbert that she wished she had 10

  therapists like her.

               31. The MYA’s October 24, 2012 discharge letter to Ms. Helbert

  invited her to reapply for any position for which she was qualified in the event the

  DCS investigation cleared her.

               32. Although the defendants’ managers insisted to the EEOC that they

  had to discharge Ms. Helbert after they had placed her on leave for six months,

  they did not provide the EEOC with any published policy which required that she

  be discharged.    The plaintiff avers that all of the accusations regarding the

  plaintiff’s job performance are pretextual and have been generated to camouflage

  the defendant’s Title VII discrimination.

               33. After Ms. Helbert filed her EEOC sex and race discrimination

  charges against MYA, the defendants advised the EEOC that Ms. Helbert’s

  “boundary issues” had been a factor in their decision to suspend and then discharge


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  her. MYA also advised the EEOC that white male staff comparators had no

  “boundary issues.” Both statements are false. On several occasions, CEO Paul

  Kirkham personally, and by himself, took a male adolescent off-campus in direct

  violation of MYA written policies. Kirkham also allowed young male patients to

  use his office computer, took them on drives in his automobile, and assigned them

  projects which allowed him to spend extensive one-on-one time with each of them.

  Kirkham’s “boundary issues” with the young boys reached the point that one of

  the boy’s family objected to the amount of time which Kirkham personally spent

  with their son. Kirkham was not a therapist and his inappropriate private acts of

  attention to the adolescent were not within the scope of his administrative duties.

  The plaintiff avers that CEO Kirkham’s behavior constituted egregious violations

  of “professional boundaries” and was condoned by the defendants because

  Kirkham is a white male. The defendants were aware of, and condoned, other

  white male employees’ violations of “professional boundaries.”

               34. Even though it had been allowing male CEO Kirkham to regularly

  violate its “boundary” policies, MYA advanced spurious post-discharge claims of

  “boundary issues” against Ms. Helbert to attack her competency as a therapist and

  to provide an “after-the-fact” justification for its discriminatory decision to suspend

  her, to cease paying her, and to then discharge her. The plaintiff avers that the

  defendants’ articulating different and additional reasons at different times for its


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  adverse employment actions against Ms. Helbert is additional circumstantial

  evidence of pretext and of sex and race discrimination.

              35.   Plaintiff Helbert avers that the defendants’ maintained and

  encouraged a “culture” of employment preference and bias in favor of male

  employees. The defendants protected male employees who openly violated their

  employment policies while punishing female employees whom they accused of

  violating the same policies. In addition to the circumstances of gender bias

  described above, the defendants protected male sexual harassers on the MYA staff.

  When Ms. Helbert complained to her supervisor Samantha Slagle in February 2012

  that the MYA Director of Operations had tried to kiss her when she returned from

  her vacation and had slid his hand inside of her slacks and down her buttocks, Ms.

  Slagle responded that administrators knew the Director of Operations was “like

  that” and had sex in his MYA office. Upon being told of the sexual harassment,

  DCS Crotty advised Ms. Helbert that she did not doubt the sexual harassment had

  occurred. However, the MYA administrators did not make any effort to formally

  investigate the sexual harassment or discipline the Director of Operations.

              36. In an effort to get along with the MYA administration, Ms.

  Helbert did not press the matter. MYA suspended Ms. Helbert a month later and

  then discharged her. MYA now says that Ms. Helbert is the person who had

  “professional boundary” issues. The male sexual harasser was subsequently


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  transferred by the defendants to one of their Nashville, Tennessee facilities where

  he was installed as the CEO.

              37. Shortly after Ms. Helbert had complained about the Director of

  Operations’ sexual harassment, CEO Paul Kirkham called Ms. Helbert into his

  office and criticized her for eating supper at the facility with three adolescent

  patients who had requested that she eat with them. Kirkham also accused Ms.

  Helbert of conducting unauthorized therapy with the adolescents because she ate

  supper with them. Within the month, MYA suspended Ms. Helbert.

              38.     Plaintiff Helbert avers that she has been discriminated against

  because of her gender/sex and because of her being of Mixed race in violation of

  the provisions of Title VII of the 1964 Civil Rights Act, as amended. The

  defendants discharged Ms. Helbert before the Department of Children’s Services

  had made a final determination on the false charges against her while they retained

  the accused white male therapist in their employ throughout the state agency’s

  investigation into the accusations against him.

              39. As a result of the defendants’ gender and race discrimination, Ms.

  Helbert lost wages and benefits and had to move back to Honaker, Virginia. She

  was embarrassed and humiliated because of the defendant’s discriminatory

  mistreatment.     Ms. Helbert suffered mental distress and anxiety during her

  discriminatory suspension and has continued to suffer mentally after her


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  discriminatory discharge. She has had to seek medical treatment for the mental

  distress the defendant’s discrimination has caused her.

               40.   As a result of the defendants’ sex discrimination and race

  discrimination, Ms. Helbert’s enjoyment of life has been diminished and her

  earning capacity has been impaired. She has lost wages and may lose wages in the

  future. Ms. Helbert avers that she is entitled to recover back pay, lost benefits, and

  front pay from each of the defendants.

               41. Ms. Helbert avers that the defendants’ sex discrimination and race

  discrimination was intentional, malicious, willful, and in reckless disregard of her

  federally protected rights. She is entitled to an award of compensatory damages

  from each defendant and to an award of punitive damages from each defendant.

               42. Ms. Helbert has filed her sex and race discrimination charges with

  the EEOC and has received her right-to-sue letter.          She has exhausted her

  administrative remedies.



               WHEREFORE, THE PLAINTIFF DEMANDS:

               1. Judgment against the defendants for all compensatory damages to

  which the plaintiff is entitled under Title VII and 42 U.S.C. §1981a.

               2. Judgment against the defendants for all punitive damages to which

  the plaintiff is entitled under Title VII and 42 U.S.C. §1981a.


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              3. An award of lost wages and lost benefits.

              4. An award of front pay.

              5. A jury to try the plaintiff’s claims.

              6. An award of attorney’s fees as the prevailing party.

              7. Such other relief to which the plaintiff may be entitled.




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